Case 2:21-cv-11403-PDB-CI ECF No. 1, PageID.1 Filed 06/15/21 Page 1 of 21




                  UNITED STATES DISTRICT COURT
                  EASTERN DISTRICT OF MICHIGAN
                       SOUTHERN DIVISION

YUKI TAKEKAWA, and
MAKOTO TAKEKAWA,
husband and wife,

             Plaintiffs,

                                         Case Number:
vs.                                      Hon.

DELTA AIR LINES, INC.,
a Delaware corporation,

             Defendant.


 DRIGGERS, SCHULTZ & HERBST
 By: Mark Kelley Schwartz (P48058)
 Attorney for Plaintiffs
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             COMPLAINT & DEMAND FOR JURY TRIAL

      Plaintiffs, YUKI TAKEKAWA, and MAKOTO TAKEKAWA, by

and through their undersigned legal counsel, DRIGGERS, SCHULTZ &

HERBST, sue Defendant, DELTA AIR LINES, INC, a Delaware

corporation, stating as follows:
Case 2:21-cv-11403-PDB-CI ECF No. 1, PageID.2 Filed 06/15/21 Page 2 of 21




               THE PARTIES, JURISDICTION & VENUE

      1.     Plaintiff, YUKI TAKEKAWA, is presently and was at all times

material to this lawsuit a permanent resident of the United States, residing in

the City of Ann Arbor, State of Michigan. YUKI TAKEKAWA is a

domiciliary of Japan, and thus a citizen of Japan.

      2.     Plaintiff, MAKOTO TAKEKAWA, is presently and was at all

times material to this lawsuit the husband of YUKI TAKEKAWA, and is also

a permanent resident of the United States, residing in the City of Ann Arbor,

State of Michigan. MAKOTO TAKEKAWA is a domiciliary of Japan, and

thus a citizen of Japan.

      3.     Defendant, DELTA AIR LINES, INC. (“DELTA”) is a

Delaware for profit company with its principal place of business in Atlanta,

Georgia and is thus a citizen of both Delaware and Georgia.

      4.     DELTA is the holder of a Federal Aviation Administration issued

Air Carrier Certificate under 14 C.F.R. § 121 and is engaged in both the

domestic and international scheduled transportation of passengers.

      5.     Subject matter jurisdiction is vested under 28 U.S.C. §1331, in that

this action arises under the Montreal Convention, a Multilateral Treaty,

formally known as the Convention for the Unification of Certain Rules Relating

to International Carriage by Air, opened for signature on May 18, 1999,



                                       2
Case 2:21-cv-11403-PDB-CI ECF No. 1, PageID.3 Filed 06/15/21 Page 3 of 21




reprinted in S. Treaty Doc. 106-45 at 27 (2000) 1999 WL 33292734 (entered

into force November 4, 2003).1

        6.     Under Article 33 of the Montreal Convention the courts of the

United States, a State Party to the Montreal Convention, constitute an

appropriate jurisdiction to hear this action for the following reasons: a) Delta is

domiciled in the United States, b) Delta has its principal place of business in

the United States, c) the United States is the place of business through which

the contract for Plaintiff’s international carriage was made, d) the United States

is the place of destination under the Montreal Convention, and e) Plaintiffs have

their principal and permanent residence in the United States and Delta

otherwise meets the additional operational requirements of the “fifth

jurisdiction” (Art. 33.2) in the United States.

        7.     The Court has personal jurisdiction over the Defendant in the State

of Michigan as Defendant conducts systematic business and air carrier

operations at the Detroit Metropolitan Wayne County Airport, Wayne County,

State of Michigan and the events and omissions giving rise to this action for

damages occurred in Wayne County, State of Michigan.

        8.     Venue in this judicial district is authorized and appropriate under

28 U.S.C. § 1391(b)(1) and (2).


1
    The text of the Montreal Convention is attached at Exhibit A.

                                         3
Case 2:21-cv-11403-PDB-CI ECF No. 1, PageID.4 Filed 06/15/21 Page 4 of 21




                CAUSE OF ACTION UNDER ARTICLE 17
                 OF THE MONTREAL CONVENTION

      9.     Prior to the date of the accident, YUKI TAKEKAWA purchased

tickets for air travel from DELTA for International Carriage (as that term is

defined in Art. 1.2 of the Montreal Convention), beginning and ending at

Detroit Wayne County Metropolitan Airport, with an agreed stopping place in

Nagoya, Japan.

      10.    On June 23, 2019, Plaintiff YUKI TAKEKAWA was engaged in

international carriage as that term is defined in Montreal Conv., Art. 1.2, as she

was returning to Detroit Metropolitan Airport from Nagoya, Japan, aboard

Defendant’s Flight No. 94.

      11.    On June 23, 2019, there was in force and effect in the United States

a certain multilateral treaty relating to the rules governing international carriage

by air known as the Convention for the Unification of Certain Rules Relating

to International Carriage by Air, opened for signature on 28 May 1999,

reprinted in S. Treaty Doc. 106-45, 1999 WL 33292734 (entered into force

November 4, 2003) (treaty), commonly referred to as the Montreal Convention.

      12.    Under Article 17.1 of the Montreal Convention, DELTA is

strictly liable for all damages sustained in the case of bodily injury of a

passenger upon condition only that the accident which caused the injury took

place aboard the aircraft or in the course of any of the operations of embarking

                                         4
Case 2:21-cv-11403-PDB-CI ECF No. 1, PageID.5 Filed 06/15/21 Page 5 of 21




or disembarking.

      13.    The Montreal Convention further provides that for a passenger’s

damages up to 128,821 Special Drawing Rights (“SDR”), 2 DELTA cannot

exclude or limit its liability. Montreal Conv., Art. 21.1

      14.    In order to limit its liability for damages exceeding 128,821

SDR’s, DELTA has the burden of proof to show that: 1) the damages were not

due its negligence, wrongful act or omission, or the negligence, wrongful act

or omission of its servants and agents, or, 2) such damage was solely due to the

negligence or other wrongful act or omission of a third party. Montreal Conv.,

Art. 21.2.

      15.    On June 23, 2109, while aboard DELTA Flight No. 94, YUKI

TAKEKAWA received second degree thermal burns to her inner thighs when

a DELTA flight attendant spilled the contents of a cup of hot water onto her

lap, causing the bodily and other injuries and losses as more fully described

below.

      16.    The spilling of hot water onto Plaintiff’s lap constitutes an

accident under Article 17 of the Montreal Convention as it was an unexpected


2
    A unique monetary unit which acts only in the capacity of a reserve
instrument. It is promulgated and controlled by the International Monetary
Fund and composed of a basket of currencies. At the time of filing of this
Complaint, 1 SDR = $1.43 US Dollars. Exhibit B contains the recently revised
limits of liability.

                                        5
Case 2:21-cv-11403-PDB-CI ECF No. 1, PageID.6 Filed 06/15/21 Page 6 of 21




or unusual occurrence.

      17.    DELTA is strictly liable for YUKI TAKEKAWA’S damages up

to 128,821 SDR’s and the carrier “shall not be able to exclude or limit its

liability.” Montreal Conv., Art. 21.1.

      18.    DELTA is not entitled to exoneration under Montreal Article 20.

      19.    DELTA is also strictly liable for Plaintiff’s full fair and just

damages without the monetary limitation in Article 21.1, as DELTA is unable

to prove that Plaintiff’s damages were not: 1) due to its own (or its agents and

servants) negligence, wrongful act or omission, or 2) solely due to the

negligence, wrongful act or omission of a third-party. Montreal Conv., Art.

21.2 (placing the burden of proof on the carrier).

      20.    YUKI TAKEKAWA did incur bodily injuries, including the

second degree thermal burns to her inner thighs resulting in permanent and

unsightly scarring, an aggravation of her underlying rheumatologic condition,

physical pain & suffering, mental and emotional anguish, anxiety, scarring,

fright and shock, embarrassment, humiliation and mortification, annoyance,

discomfiture, humiliation, emotional and mental distress and denial of social

pleasure and enjoyments, all in the past and continuing into the future, in

addition to medical expenses and economic damages, including, without

limitation, medical, pharmaceutical & rehabilitative expenses, out-of-pocket



                                         6
Case 2:21-cv-11403-PDB-CI ECF No. 1, PageID.7 Filed 06/15/21 Page 7 of 21




expenditures, all in the past and continuing through present and into the future.

       WHEREFORE, Plaintiff, YUKI TAKEKAWA, respectfully requests

this Honorable Court award her damages that will fully and fairly compensate

her the injuries, losses and harms incurred to-date as well as her future injuries,

losses and harms, plus costs, interest along with all other relief that is just and

equitable under the circumstances.

       LOSS OF CONSORTIUM: PLAINTIFF MAKOTO TAKEKAWA

       21.    Plaintiffs incorporate by reference the above-stated paragraphs as

if fully stated herein.

       22.    Plaintiff MAKOTO TAKEKAWA is now and was at all times

relevant to this Complaint the lawful husband of Plaintiff YUKI

TAKEKAWA.

       23.    As a direct, proximate and foreseeable result of the above

described acts or omissions of DELTA, MAKOTO TAKEKAWA has in the

past and will in the future suffer diminishment of his wife’s companionship,

society, and consortium. These damages were the direct and proximate result

of the acts and omissions of Defendant DELTA.

       WHEREFORE, Plaintiff MAKOTO               TAKEKAWA          requests    this

Honorable Court award him his damages that will fully and fairly compensate

him the injuries, losses and harms incurred to date as well as the future losses



                                        7
Case 2:21-cv-11403-PDB-CI ECF No. 1, PageID.8 Filed 06/15/21 Page 8 of 21




and harms, together with all other relief that is fair, just and equitable under the

circumstances.



                                        Respectfully submitted,

                                        DRIGGERS, SCHULTZ & HERBST

                                        /s/ Mark K. Schwartz
                                        MARK K. SCHWARTZ (P48058)
                                        Attorney for Plaintiffs
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                                        Troy, MI 48084
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Dated: June 15, 2021




                                         8
Case 2:21-cv-11403-PDB-CI ECF No. 1, PageID.9 Filed 06/15/21 Page 9 of 21




                  UNITED STATES DISTRICT COURT
                  EASTERN DISTRICT OF MICHIGAN
                       SOUTHERN DIVISION

YUKI TAKEKAWA,
MAKOTO TAKEKAWA,
husband and wife,

             Plaintiffs,

                                               Case Number:
vs.                                            Hon.

DELTA AIR LINES, INC.,
a Delaware corporation,

             Defendant.

___________________________________________________

                           DEMAND FOR JURY TRIAL

      Plaintiffs, by and through their undersigned legal counsel, hereby

demand a trial by jury on all issues so triable.

                                       Respectfully submitted,

                                       DRIGGERS, SCHULTZ & HERBST

                                       /s/ Mark K. Schwartz
                                       MARK K. SCHWARTZ (P48058)
                                       Attorney for Plaintiff
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                                       MSchwartz@DriggersSchultz.com
Dated: June 14, 2021




                                        9
Case 2:21-cv-11403-PDB-CI ECF No. 1, PageID.10 Filed 06/15/21 Page 10 of 21




                         EXHIBIT A
           Case 2:21-cv-11403-PDB-CI ECF No. 1, PageID.11 Filed 06/15/21 Page 11 of 21

                   Essential Documents on International Air Carrier Liability

                                           1.9 Montreal Convention 19991

1
                   THE STATES PARTIES TO THIS CONVENTION
1.9
                   RECOGNIZING the signiÞcant contribution of the Convention for the UniÞcation of Certain Rules
                   Relating to International Carriage by Air signed in Warsaw on 12 October 1929, hereinafter referred
                   to as the “Warsaw Convention”, and other related instruments to the harmonization of private
                   international air law;

                   RECOGNIZING the need to modernize and consolidate the Warsaw Convention and related
                   instruments;

                   RECOGNIZING the importance of ensuring protection of the interests of consumers in international
                   carriage by air and the need for equitable compensation based on the principle of restitution;

                   REAFFIRMING the desirability of an orderly development of international air transport operations and
                   the smooth ßow of passengers, baggage and cargo in accordance with the principles and objectives
                   of the Convention on International Civil Aviation, done at Chicago on 7 December 1944;

                   CONVINCED that collective State action for further harmonization and codiÞcation of certain rules
                   governing international carriage by air through a new Convention is the most adequate means of
                   achieving an equitable balance of interests;

                   HAVE AGREED AS FOLLOWS:




                                CHAPTER I1                                  4. This Convention applies also to carriage as set out in
                                                                            Chapter V, subject to the terms contained therein.
                           General Provisions
                   Article 1 — Scope of Application                                                 Article 2
                                                                                        Carriage Performed by State and
      1. This Convention applies to all international carriage of                           Carriage of Postal Items
      persons, baggage or cargo performed by aircraft for reward.
      It applies equally to gratuitous carriage by aircraft performed       1. This Convention applies to carriage performed by the
      by an air transport undertaking.                                      State or by legally constituted public bodies provided it falls
                                                                            within the conditions laid down in Article 1.
      2. For the purposes of this Convention, the expression
      international carriage means any carriage in which,                   2. In the carriage of postal items, the carrier shall be liable
      according to the agreement between the parties, the place of          only to the relevant postal administration in accordance with
      departure and the place of destination, whether or not there          the rules applicable to the relationship between the carriers
      be a break in the carriage or a transhipment, are situated            and the postal administrations.
      either within the territories of two States Parties, or within the    3. Except as provided in paragraph 2 of this Article, the
      territory of a single State Party if there is an agreed stopping      provisions of this Convention shall not apply to the carriage
      place within the territory of another State, even if that State       of postal items.
      is not a State Party. Carriage between two points within the
      territory of a single State Party without an agreed stopping
      place within the territory of another State is not international                              CHAPTER II
      carriage for the purposes of this Convention.                          Documentation and Duties of the Parties Relating to
      3. Carriage to be performed by several successive carriers              the Carriage of Passengers, Baggage and Cargo
      is deemed, for the purposes of this Convention, to be one
      undivided carriage if it has been regarded by the parties as                    Article 3 — Passengers and Baggage
      a single operation, whether it had been agreed upon under
      the form of a single contract or of a series of contracts, and it     1. In respect of carriage of passengers, an individual or
      does not lose its international character merely because one          collective document of carriage shall be delivered containing:
      contract or a series of contracts is to be performed entirely             a) an indication of the places of departure and
      within the territory of the same State.                                      destination;
      1 Convention for the Unification of Certain Rules for International       b) if the places of departure and destination are within
        Carriage by Air, opened for Signature at Montreal on 28 May 1999           the territory of a single State Party, one or more
        (ICAO Doc No 4698). [PN]


      62
     Case 2:21-cv-11403-PDB-CI ECF No. 1, PageID.12 Filed 06/15/21 Page 12 of 21

                                          Instruments Relating to Liability for Carriage by Air

        agreed stopping places being within the territory            “for the consignee”; it shall be signed by the consignor and
        of another State, an indication of at least one such         by the carrier. The third part shall be signed by the carrier
        stopping place.
2. Any other means which preserves the information
indicated in paragraph 1 may be substituted for the delivery
                                                                     who shall hand it to the consignor after the cargo has been
                                                                     accepted.
                                                                     3. The signature of the carrier and that of the consignor
                                                                                                                                           1
of the document referred to in that paragraph. If any such           may be printed or stamped.
other means is used, the carrier shall offer to deliver to
                                                                                                                                           1.9
                                                                     4. If, at the request of the consignor, the carrier makes out
the passenger a written statement of the information so              the air waybill, the carrier shall be deemed, subject to proof
preserved.                                                           to the contrary, to have done so on behalf of the consignor.
3. The carrier shall deliver to the passenger a baggage
identiÞcation tag for each piece of checked baggage.                                       Article 8
                                                                               Documentation for Multiple Packages
4. The passenger shall be given written notice to the effect
that where this Convention is applicable it governs and may               When there is more than one package:
limit the liability of carriers in respect of death or injury and
for destruction or loss of, or damage to, baggage, and for                a) the carrier of cargo has the right to require the
delay.                                                                       consignor to make out separate air waybills;
5. Non-compliance with the provisions of the foregoing                    b) the consignor has the right to require the carrier
paragraphs shall not affect the existence or the validity of                 to deliver separate cargo receipts when the other
the contract of carriage, which shall, nonetheless, be subject               means referred to in paragraph 2 of Article 4 are
to the rules of this Convention including those relating to                  used.
limitation of liability.
                                                                                           Article 9
                      Article 4 — Cargo                                 Non-compliance with Documentary Requirements

1. In respect of the carriage of cargo, an air waybill shall               Non-compliance with the provisions of Articles 4 to 8
be delivered.                                                        shall not affect the existence or the validity of the contract
                                                                     of carriage, which shall, nonetheless, be subject to the rules
2. Any other means which preserves a record of the                   of this Convention including those relating to limitation of
carriage to be performed may be substituted for the delivery         liability.
of an air waybill. If such other means are used, the carrier
shall, if so requested by the consignor, deliver to the                                      Article 10
consignor a cargo receipt permitting identiÞcation of the                Responsibility for Particulars of Documentation
consignment and access to the information contained in the
record preserved by such other means.                                1. The consignor is responsible for the correctness of the
                                                                     particulars and statements relating to the cargo inserted by
                        Article 5                                    it or on its behalf in the air waybill or furnished by it or on its
        Contents of Air Waybill or Cargo Receipt                     behalf to the carrier for insertion in the cargo receipt or for
                                                                     insertion in the record preserved by the other means referred
     The air waybill or the cargo receipt shall include:             to in paragraph 2 of Article 4. The foregoing shall also apply
     a) an indication of the places of departure and                 where the person acting on behalf of the consignor is also
        destination;                                                 the agent of the carrier.
     b) if the places of departure and destination are within        2. The consignor shall indemnify the carrier against all
        the territory of a single State Party, one or more           damage suffered by it, or by any other person to whom the
        agreed stopping places being within the territory            carrier is liable, by reason of the irregularity, incorrectness or
        of another State, an indication of at least one such         incompleteness of the particulars and statements furnished
        stopping place; and                                          by the consignor or on its behalf.
     c) an indication of the weight of the consignment.              3. Subject to the provisions of paragraphs 1 and 2 of this
                                                                     Article, the carrier shall indemnify the consignor against all
                      Article 6                                      damage suffered by it, or by any other person to whom the
     Document Relating to the Nature of the Cargo                    consignor is liable, by reason of the irregularity, incorrectness
                                                                     or incompleteness of the particulars and statements
     The consignor may be required, if necessary to meet the         inserted by the carrier or on its behalf in the cargo receipt
formalities of customs, police and similar public authorities,       or in the record preserved by the other means referred to in
to deliver a document indicating the nature of the cargo. This       paragraph 2 of Article 4.
provision creates for the carrier no duty, obligation or liability
resulting therefrom.                                                     Article 11 — Evidentiary Value of Documentation
          Article 7 — Description of Air Waybill                     1. The air waybill or the cargo receipt is prima facie
                                                                     evidence of the conclusion of the contract, of the acceptance
1. The air waybill shall be made out by the consignor in             of the cargo and of the conditions of carriage mentioned
three original parts.                                                therein.
2. The Þrst part shall be marked “for the carrier”; it shall be      2. Any statements in the air waybill or the cargo receipt
signed by the consignor. The second part shall be marked             relating to the weight, dimensions and packing of the cargo,



                                                                                                                                    63
           Case 2:21-cv-11403-PDB-CI ECF No. 1, PageID.13 Filed 06/15/21 Page 13 of 21

                   Essential Documents on International Air Carrier Liability

      as well as those relating to the number of packages, are                                  Article 15
      prima facie evidence of the facts stated; those relating to the            Relations of Consignor and Consignee or

1     quantity, volume and condition of the cargo do not constitute
      evidence against the carrier except so far as they both have
      been, and are stated in the air waybill or the cargo receipt to
                                                                                     Mutual Relations of Third Parties

                                                                          1. Articles 12, 13 and 14 do not affect either the relations
      have been, checked by it in the presence of the consignor,          of the consignor and the consignee with each other or the
1.9   or relate to the apparent condition of the cargo.                   mutual relations of third parties whose rights are derived
                                                                          either from the consignor or from the consignee.
             Article 12 — Right of Disposition of Cargo
                                                                          2. The provisions of Articles 12, 13 and 14 can only be
      1. Subject to its liability to carry out all its obligations        varied by express provision in the air waybill or the cargo
      under the contract of carriage, the consignor has the right         receipt.
      to dispose of the cargo by withdrawing it at the airport of                                 Article 16
      departure or destination, or by stopping it in the course of                    Formalities of Customs, Police or
      the journey on any landing, or by calling for it to be delivered                    Other Public Authorities
      at the place of destination or in the course of the journey to
      a person other than the consignee originally designated, or         1. The consignor must furnish such information and
      by requiring it to be returned to the airport of departure. The     such documents as are necessary to meet the formalities
      consignor must not exercise this right of disposition in such       of customs, police and any other public authorities before
      a way as to prejudice the carrier or other consignors and           the cargo can be delivered to the consignee. The consignor
      must reimburse any expenses occasioned by the exercise              is liable to the carrier for any damage occasioned by the
      of this right.                                                      absence, insufÞciency or irregularity of any such information
      2. If it is impossible to carry out the instructions of the         or documents, unless the damage is due to the fault of the
      consignor, the carrier must so inform the consignor forthwith.      carrier, its servants or agents.
      3. If the carrier carries out the instructions of the consignor     2. The carrier is under no obligation to enquire into the
      for the disposition of the cargo without requiring the              correctness or sufÞciency of such information or documents.
      production of the part of the air waybill or the cargo receipt
      delivered to the latter, the carrier will be liable, without
      prejudice to its right of recovery from the consignor, for any                              CHAPTER III
      damage which may be caused thereby to any person who
      is lawfully in possession of that part of the air waybill or the                   Liability of the Carrier and
      cargo receipt.                                                                Extent of Compensation for Damage
      4. The right conferred on the consignor ceases at the mo-                                   Article 17
      ment when that of the consignee begins in accordanceArt-              Death and Injury of Passengers — Damage to Baggage
      icle 13. Nevertheless, if the consignee declines to accept
      the cargo, or cannot be communicated with, the consignor            1. The carrier is liable for damage sustained in case of
      resumes its right of disposition.                                   death or bodily injury of a passenger upon condition only
                                                                          that the accident which caused the death or injury took place
                  Article 13 — Delivery of the Cargo                      on board the aircraft or in the course of any of the operations
                                                                          of embarking or disembarking.
      1. Except when the consignor has exercised its right under
      Article 12, the consignee is entitled, on arrival of the cargo at   2. The carrier is liable for damage sustained in case of
      the place of destination, to require the carrier to deliver the     destruction or loss of, or of damage to, checked baggage
      cargo to it, on payment of the charges due and on complying         upon condition only that the event which caused the
      with the conditions of carriage.                                    destruction, loss or damage took place on board the aircraft
                                                                          or during any period within which the checked baggage
      2. Unless it is otherwise agreed, it is the duty of the carrier     was in the charge of the carrier. However, the carrier is not
      to give notice to the consignee as soon as the cargo arrives.       liable if and to the extent that the damage resulted from the
      3. If the carrier admits the loss of the cargo, or if the cargo     inherent defect, quality or vice of the baggage. In the case
      has not arrived at the expiration of seven days after the date      of unchecked baggage, including personal items, the carrier
      on which it ought to have arrived, the consignee is entitled        is liable if the damage resulted from its fault or that of its
      to enforce against the carrier the rights which ßow from the        servants or agents.
      contract of carriage.                                               3. If the carrier admits the loss of the checked baggage,
                                                                          or if the checked baggage has not arrived at the expiration
                             Article 14                                   of twenty-one days after the date on which it ought to have
               Enforcement of the Rights of Consignor                     arrived, the passenger is entitled to enforce against the
                         and Consignee                                    carrier the rights which ßow from the contract of carriage.
           The consignor and the consignee can respectively               4. Unless otherwise speciÞed, in this Convention the term
      enforce all the rights given to them by Articles 12 and 13,         “baggage” means both checked baggage and unchecked
      each in its own name, whether it is acting in its own interest      baggage.
      or in the interest of another, provided that it carries out the
      obligations imposed by the contract of carriage.




      64
     Case 2:21-cv-11403-PDB-CI ECF No. 1, PageID.14 Filed 06/15/21 Page 14 of 21

                                          Instruments Relating to Liability for Carriage by Air

               Article 18 — Damage to Cargo                                                 Article 21
                                                                                 Compensation in Case of Death or
1. The carrier is liable for damage sustained in the event
of the destruction or loss of, or damage to, cargo upon
condition only that the event which caused the damage so
                                                                                      Injury of Passengers

                                                                     1. For damages arising under paragraph 1 of Article 17
                                                                                                                                           1
sustained took place during the carriage by air.                     not exceeding 100 000 Special Drawing Rights for each
2. However, the carrier is not liable if and to the extent it        passenger, the carrier shall not be able to exclude or limit its      1.9
proves that the destruction, or loss of, or damage to, the           liability.
cargo resulted from one or more of the following:                    2. The carrier shall not be liable for damages arising under
     a) inherent defect, quality or vice of that cargo;              paragraph 1 of Article 17 to the extent that they exceed for
                                                                     each passenger 100 000 Special Drawing Rights if the
     b) defective packing of that cargo performed by a               carrier proves that:
        person other than the carrier or its servants or
        agents;                                                           a) such damage was not due to the negligence or other
                                                                             wrongful act or omission of the carrier or its servants
     c) an act of war or an armed conßict;                                   or agents; or
     d) an act of public authority carried out in connection              b) such damage was solely due to the negligence or
        with the entry, exit or transit of the cargo.                        other wrongful act or omission of a third party.
3. The carriage by air within the meaning of paragraph 1
of this Article comprises the period during which the cargo is                                Article 22
in the charge of the carrier.                                                  Limits of Liability in Relation to Delay,
                                                                                        Baggage and Cargo
4. The period of the carriage by air does not extend to any
carriage by land, by sea or by inland waterway performed             1. In the case of damage caused by delay as speciÞed in
outside an airport. If, however, such carriage takes place           Article 19 in the carriage of persons, the liability of the carrier
in the performance of a contract for carriage by air, for the        for each passenger is limited to 4 150 Special Drawing
purpose of loading, delivery or transhipment, any damage is          Rights.
presumed, subject to proof to the contrary, to have been the
result of an event which took place during the carriage by air.      2. In the carriage of baggage, the liability of the carrier
If a carrier, without the consent of the consignor, substitutes      in the case of destruction, loss, damage or delay is limited
carriage by another mode of transport for the whole or part          to 1 000 Special Drawing Rights for each passenger
of a carriage intended by the agreement between the parties          unless the passenger has made, at the time when the
to be carriage by air, such carriage by another mode of              checked baggage was handed over to the carrier, a special
transport is deemed to be within the period of carriage by air.      declaration of interest in delivery at destination and has paid
                                                                     a supplementary sum if the case so requires. In that case
                      Article 19 — Delay                             the carrier will be liable to pay a sum not exceeding the
                                                                     declared sum, unless it proves that the sum is greater than
     The carrier is liable for damage occasioned by delay            the passenger’s actual interest in delivery at destination.
in the carriage by air of passengers, baggage or cargo.              3. In the carriage of cargo, the liability of the carrier in the
Nevertheless, the carrier shall not be liable for damage             case of destruction, loss, damage or delay is limited to a
occasioned by delay if it proves that it and its servants and        sum of 17 Special Drawing Rights per kilogramme, unless
agents took all measures that could reasonably be required           the consignor has made, at the time when the package was
to avoid the damage or that it was impossible for it or them         handed over to the carrier, a special declaration of interest in
to take such measures.                                               delivery at destination and has paid a supplementary sum if
                                                                     the case so requires. In that case the carrier will be liable to
                  Article 20 — Exoneration                           pay a sum not exceeding the declared sum, unless it proves
                                                                     that the sum is greater than the consignor’s actual interest in
      If the carrier proves that the damage was caused or            delivery at destination.
contributed to by the negligence or other wrongful act or
omission of the person claiming compensation, or the                 4. In the case of destruction, loss, damage or delay of part
person from whom he or she derives his or her rights, the            of the cargo, or of any object contained therein, the weight
carrier shall be wholly or partly exonerated from its liability to   to be taken into consideration in determining the amount to
the claimant to the extent that such negligence or wrongful          which the carrier’s liability is limited shall be only the total
act or omission caused or contributed to the damage. When            weight of the package or packages concerned. Nevertheless,
by reason of death or injury of a passenger compensation             when the destruction, loss, damage or delay of a part of the
is claimed by a person other than the passenger, the carrier         cargo, or of an object contained therein, affects the value
shall likewise be wholly or partly exonerated from its liability     of other packages covered by the same air waybill, or the
to the extent that it proves that the damage was caused or           same receipt or, if they were not issued, by the same record
contributed to by the negligence or other wrongful act or            preserved by the other means referred to in paragraph 2 of
omission of that passenger. This Article applies to all the          Article 4, the total weight of such package or packages shall
liability provisions in this Convention, including paragraph         also be taken into consideration in determining the limit of
1 of Article 21.                                                     liability.
                                                                     5. The foregoing provisions of paragraphs 1 and 2 of this
                                                                     Article shall not apply if it is proved that the damage resulted
                                                                     from an act or omission of the carrier, its servants or agents,
                                                                     done with intent to cause damage or recklessly and with


                                                                                                                                    65
           Case 2:21-cv-11403-PDB-CI ECF No. 1, PageID.15 Filed 06/15/21 Page 15 of 21

                   Essential Documents on International Air Carrier Liability

      knowledge that damage would probably result; provided                               Article 24 — Review of Limits
      that, in the case of such act or omission of a servant or

1     agent, it is also proved that such servant or agent was acting
      within the scope of its employment.
      6. The limits prescribed in Article 21 and in this Article shall
                                                                           1. Without prejudice to the provisions of Article 25 of this
                                                                           Convention and subject to paragraph 2 below, the limits of
                                                                           liability prescribed in Articles 21, 22 and 23 shall be reviewed
      not prevent the court from awarding, in accordance with its          by the Depositary at Þve-year intervals, the Þrst such review
1.9   own law, in addition, the whole or part of the court costs and       to take place at the end of the Þfth year following the date
      of the other expenses of the litigation incurred by the plaintiff,   of entry into force of this Convention, or if the Convention
      including interest. The foregoing provision shall not apply if       does not enter into force within Þve years of the date it is Þrst
      the amount of the damages awarded, excluding court costs             open for signature, within the Þrst year of its entry into force,
      and other expenses of the litigation, does not exceed the            by reference to an inßation factor which corresponds to the
      sum which the carrier has offered in writing to the plaintiff        accumulated rate of inßation since the previous revision
      within a period of six months from the date of the occurrence        or in the Þrst instance since the date of entry into force of
      causing the damage, or before the commencement of the                the Convention. The measure of the rate of inßation to be
      action, if that is later.                                            used in determining the inßation factor shall be the weighted
                                                                           average of the annual rates of increase or decrease in the
             Article 23 — Conversion of Monetary Units                     Consumer Price Indices of the States whose currencies
                                                                           comprise the Special Drawing Right mentioned in paragraph
      1. The sums mentioned in terms of Special Drawing Right              1 of Article 23.
      in this Convention shall be deemed to refer to the Special           2. If the review referred to in the preceding paragraph
      Drawing Right as deÞned by the International Monetary                concludes that the inßation factor has exceeded 10 per cent,
      Fund. Conversion of the sums into national currencies shall,         the Depositary shall notify States Parties of a revision of the
      in case of judicial proceedings, be made according to the            limits of liability. Any such revision shall become effective six
      value of such currencies in terms of the Special Drawing             months after its notiÞcation to the States Parties. If within
      Right at the date of the judgement. The value of a national          three months after its notiÞcation to the States Parties a
      currency, in terms of the Special Drawing Right, of a State          majority of the States Parties register their disapproval,
      Party which is a Member of the International Monetary                the revision shall not become effective and the Depositary
      Fund, shall be calculated in accordance with the method              shall refer the matter to a meeting of the States Parties. The
      of valuation applied by the International Monetary Fund, in          Depositary shall immediately notify all States Parties of the
      effect at the date of the judgement, for its operations and          coming into force of any revision.
      transactions. The value of a national currency, in terms of
      the Special Drawing Right, of a State Party which is not             3. Notwithstanding paragraph 1 of this Article, the
      a Member of the International Monetary Fund, shall be                procedure referred to in paragraph 2 of this Article shall be
      calculated in a manner determined by that State.                     applied at any time provided that one-third of the States
                                                                           Parties express a desire to that effect and upon condition that
      2. Nevertheless, those States which are not Members of               the inßation factor referred to in paragraph 1 has exceeded
      the International Monetary Fund and whose law does not               30 per cent since the previous revision or since the date
      permit the application of the provisions of paragraph 1 of           of entry into force of this Convention if there has been no
      this Article may, at the time of ratiÞcation or accession or         previous revision. Subsequent reviews using the procedure
      at any time thereafter, declare that the limit of liability of the   described in paragraph 1 of this Article will take place at Þve-
      carrier prescribed in Article 21 is Þxed at a sum of 1 500           year intervals starting at the end of the Þfth year following
      000 monetary units per passenger in judicial proceedings             the date of the reviews under the present paragraph.
      in their territories; 62 500 monetary units per passenger
      with respect to paragraph 1 of Article 22; 15 000 monetary                       Article 25 — Stipulation on Limits
      units per passenger with respect to paragraph 2 of Article
      22; and 250 monetary units per kilogramme with respect to                 A carrier may stipulate that the contract of carriage shall
      paragraph 3 of Article 22. This monetary unit corresponds            be subject to higher limits of liability than those provided for
      to sixty-Þve and a half milligrammes of gold of millesimal           in this Convention or to no limits of liability whatsoever.
      Þneness nine hundred. These sums may be converted
      into the national currency concerned in round Þgures. The                Article 26 — Invalidity of Contractual Provisions
      conversion of these sums into national currency shall be
      made according to the law of the State concerned.                         Any provision tending to relieve the carrier of liability
                                                                           or to fix a lower limit than that which is laid down in this
      3. The calculation mentioned in the last sentence of                 Convention shall be null and void, but the nullity of any
      paragraph 1 of this Article and the conversion method                such provision does not involve the nullity of the whole
      mentioned in paragraph 2 of this Article shall be made in            contract, which shall remain subject to the provisions of this
      such manner as to express in the national currency of the            Convention.
      State Party as far as possible the same real value for the
      amounts in Articles 21 and 22 as would result from the                           Article 27 — Freedom to Contract
      application of the Þrst three sentences of paragraph 1 of this
      Article. States Parties shall communicate to the depositary               Nothing contained in this Convention shall prevent the
      the manner of calculation pursuant to paragraph 1 of this            carrier from refusing to enter into any contract of carriage,
      Article, or the result of the conversion in paragraph 2 of this      from waiving any defences available under the Convention,
      Article as the case may be, when depositing an instrument            or from laying down conditions which do not conflict with the
      of ratiÞcation, acceptance, approval of or accession to this         provisions of this Convention.
      Convention and whenever there is a change in either.



      66
     Case 2:21-cv-11403-PDB-CI ECF No. 1, PageID.16 Filed 06/15/21 Page 16 of 21

                                         Instruments Relating to Liability for Carriage by Air

             Article 28 — Advance Payments                                    Article 32 — Death of Person Liable

     In the case of aircraft accidents resulting in death or
injury of passengers, the carrier shall, if required by its
national law, make advance payments without delay to
                                                                       In the case of the death of the person liable, an action
                                                                   for damages lies in accordance with the terms of this
                                                                   Convention against those legally representing his or her
                                                                                                                                       1
a natural person or persons who are entitled to claim              estate.
compensation in order to meet the immediate economic                                                                                   1.9
needs of such persons. Such advance payments shall not                               Article 33 — Jurisdiction
constitute a recognition of liability and may be offset against    1. An action for damages must be brought, at the option
any amounts subsequently paid as damages by the carrier.           of the plaintiff, in the territory of one of the States Parties,
                                                                   either before the court of the domicile of the carrier or of
               Article 29 — Basis of Claims                        its principal place of business, or where it has a place of
                                                                   business through which the contract has been made or
     In the carriage of passengers, baggage and cargo, any         before the court at the place of destination.
action for damages, however founded, whether under this
Convention or in contract or in tort or otherwise, can only be     2. In respect of damage resulting from the death or injury
brought subject to the conditions and such limits of liability     of a passenger, an action may be brought before one of the
as are set out in this Convention without prejudice to the         courts mentioned in paragraph 1 of this Article, or in the
question as to who are the persons who have the right to           territory of a State Party in which at the time of the accident
bring suit and what are their respective rights. In any such       the passenger has his or her principal and permanent
action, punitive, exemplary or any other non-compensatory          residence and to or from which the carrier operates
damages shall not be recoverable.                                  services for the carriage of passengers by air, either on its
                                                                   own aircraft, or on another carrier’s aircraft pursuant to a
                       Article 30                                  commercial agreement, and in which that carrier conducts
       Servants, Agents — Aggregation of Claims                    its business of carriage of passengers by air from premises
                                                                   leased or owned by the carrier itself or by another carrier
1. If an action is brought against a servant or agent of           with which it has a commercial agreement.
the carrier arising out of damage to which the Convention          3.   For the purposes of paragraph 2,
relates, such servant or agent, if they prove that they acted
within the scope of their employment, shall be entitled to              a) “commercial agreement” means an agreement, other
avail themselves of the conditions and limits of liability which           than an agency agreement, made between carriers
the carrier itself is entitled to invoke under this Convention.            and relating to the provision of their joint services for
                                                                           carriage of passengers by air;
2. The aggregate of the amounts recoverable from the
carrier, its servants and agents, in that case, shall not               b) “principal and permanent residence” means the one
exceed the said limits.                                                    Þxed and permanent abode of the passenger at the
                                                                           time of the accident. The nationality of the passenger
3. Save in respect of the carriage of cargo, the provisions                shall not be the determining factor in this regard.
of paragraphs 1 and 2 of this Article shall not apply if it is
proved that the damage resulted from an act or omission of         4. Questions of procedure shall be governed by the law of
the servant or agent done with intent to cause damage or           the court seised of the case.
recklessly and with knowledge that damage would probably
result.                                                                              Article 34 — Arbitration

        Article 31 — Timely Notice of Complaints                   1. Subject to the provisions of this Article, the parties to the
                                                                   contract of carriage for cargo may stipulate that any dispute
1. Receipt by the person entitled to delivery of checked           relating to the liability of the carrier under this Convention
baggage or cargo without complaint is prima facie evidence         shall be settled by arbitration. Such agreement shall be in
that the same has been delivered in good condition and in          writing.
accordance with the document of carriage or with the record        2. The arbitration proceedings shall, at the option of the
preserved by the other means referred to in paragraph 2 of         claimant, take place within one of the jurisdictions referred
Article 3 and paragraph 2 of Article 4.                            to in Article 33.
2. In the case of damage, the person entitled to delivery          3. The arbitrator or arbitration tribunal shall apply the
must complain to the carrier forthwith after the discovery of      provisions of this Convention.
the damage, and, at the latest, within seven days from the
date of receipt in the case of checked baggage and fourteen        4. The provisions of paragraphs 2 and 3 of this Article
days from the date of receipt in the case of cargo. In the         shall be deemed to be part of every arbitration clause or
case of delay, the complaint must be made at the latest            agreement, and any term of such clause or agreement
within twenty-one days from the date on which the baggage          which is inconsistent therewith shall be null and void.
or cargo have been placed at his or her disposal.                              Article 35 — Limitation of Actions
3. Every complaint must be made in writing and given or
dispatched within the times aforesaid.                             1. The right to damages shall be extinguished if an action
4. If no complaint is made within the times aforesaid, no          is not brought within a period of two years, reckoned from
action shall lie against the carrier, save in the case of fraud    the date of arrival at the destination, or from the date on
on its part.                                                       which the aircraft ought to have arrived, or from the date on
                                                                   which the carriage stopped.



                                                                                                                                67
           Case 2:21-cv-11403-PDB-CI ECF No. 1, PageID.17 Filed 06/15/21 Page 17 of 21

                   Essential Documents on International Air Carrier Liability

      2. The method of calculating that period shall be                    person (hereinafter referred to as “the actual carrier”)
      determined by the law of the court seised of the case.               performs, by virtue of authority from the contracting carrier,

1                  Article 36 — Successive Carriage
                                                                           the whole or part of the carriage, but is not with respect
                                                                           to such part a successive carrier within the meaning of
                                                                           this Convention. Such authority shall be presumed in the
      1. In the case of carriage to be performed by various                absence of proof to the contrary.
1.9   successive carriers and falling within the deÞnition set out
      in paragraph 3 of Article 1, each carrier which accepts                                        Article 40
      passengers, baggage or cargo is subject to the rules set out            Respective Liability of Contracting and Actual Carriers
      in this Convention and is deemed to be one of the parties
      to the contract of carriage in so far as the contract deals               If an actual carrier performs the whole or part of carriage
      with that part of the carriage which is performed under its          which, according to the contract referred to in Article 39, is
      supervision.                                                         governed by this Convention, both the contracting carrier
      2. In the case of carriage of this nature, the passenger or          and the actual carrier shall, except as otherwise provided
      any person entitled to compensation in respect of him or her         in this Chapter, be subject to the rules of this Convention,
      can take action only against the carrier which performed the         the former for the whole of the carriage contemplated in the
      carriage during which the accident or the delay occurred,            contract, the latter solely for the carriage which it performs.
      save in the case where, by express agreement, the Þrst                               Article 41 — Mutual Liability
      carrier has assumed liability for the whole journey.
      3. As regards baggage or cargo, the passenger or                     1. The acts and omissions of the actual carrier and of
      consignor will have a right of action against the Þrst carrier,      its servants and agents acting within the scope of their
      and the passenger or consignee who is entitled to delivery           employment shall, in relation to the carriage performed
      will have a right of action against the last carrier, and further,   by the actual carrier, be deemed to be also those of the
      each may take action against the carrier which performed             contracting carrier.
      the carriage during which the destruction, loss, damage or           2. The acts and omissions of the contracting carrier and
      delay took place. These carriers will be jointly and severally       of its servants and agents acting within the scope of their
      liable to the passenger or to the consignor or consignee.            employment shall, in relation to the carriage performed by
       Article 37 — Right of Recourse against Third Parties                the actual carrier, be deemed to be also those of the actual
                                                                           carrier. Nevertheless, no such act or omission shall subject
          Nothing in this Convention shall prejudice the question          the actual carrier to liability exceeding the amounts referred
      whether a person liable for damage in accordance with its            to in Articles 21, 22, 23 and 24. Any special agreement
      provisions has a right of recourse against any other person.         under which the contracting carrier assumes obligations
                                                                           not imposed by this Convention or any waiver of rights
                                                                           or defences conferred by this Convention or any special
                               CHAPTER IV                                  declaration of interest in delivery at destination contemplated
                                                                           in Article 22 shall not affect the actual carrier unless agreed
                           Combined Carriage                               to by it.
                   Article 38 — Combined Carriage                                                Article 42
                                                                                  Addressee of Complaints and Instructions
      1. In the case of combined carriage performed partly by
      air and partly by any other mode of carriage, the provisions              Any complaint to be made or instruction to be given
      of this Convention shall, subject to paragraph 4 of Article 18,      under this Convention to the carrier shall have the same
      apply only to the carriage by air, provided that the carriage        effect whether addressed to the contracting carrier or to the
      by air falls within the terms of Article 1.                          actual carrier. Nevertheless, instructions referred to in Article
      2. Nothing in this Convention shall prevent the parties in           12 shall only be effective if addressed to the contracting
      the case of combined carriage from inserting in the document         carrier.
      of air carriage conditions relating to other modes of carriage,                  Article 43 — Servants and Agents
      provided that the provisions of this Convention are observed
      as regards the carriage by air.                                           In relation to the carriage performed by the actual carrier,
                                                                           any servant or agent of that carrier or of the contracting
                               CHAPTER V                                   carrier shall, if they prove that they acted within the scope
                                                                           of their employment, be entitled to avail themselves of the
                    Carriage by Air Performed by                           conditions and limits of liability which are applicable under
             a Person other than the Contracting Carrier                   this Convention to the carrier whose servant or agent
                                                                           they are, unless it is proved that they acted in a manner
                              Article 39                                   that prevents the limits of liability from being invoked in
                 Contracting Carrier — Actual Carrier                      accordance with this Convention.

           The provisions of this Chapter apply when a person                        Article 44 — Aggregation of Damages
      (hereinafter referred to as “the contracting carrier”) as a
      principal makes a contract of carriage governed by this                   In relation to the carriage performed by the actual
      Convention with a passenger or consignor or with a person            carrier, the aggregate of the amounts recoverable from that
      acting on behalf of the passenger or consignor, and another          carrier and the contracting carrier, and from their servants


      68
     Case 2:21-cv-11403-PDB-CI ECF No. 1, PageID.18 Filed 06/15/21 Page 18 of 21

                                           Instruments Relating to Liability for Carriage by Air

and agents acting within the scope of their employment,               adequate insurance covering its liability under this
shall not exceed the highest amount which could be awarded            Convention.
against either the contracting carrier or the actual carrier
under this Convention, but none of the persons mentioned
shall be liable for a sum in excess of the limit applicable to
                                                                                           Article 51
                                                                       Carriage Performed in Extraordinary Circumstances
                                                                                                                                          1
that person.
                                                                           The provisions of Articles 3 to 5, 7 and 8 relating to the     1.9
             Article 45 — Addressee of Claims                         documentation of carriage shall not apply in the case of
                                                                      carriage performed in extraordinary circumstances outside
     In relation to the carriage performed by the actual              the normal scope of a carrier’s business.
carrier, an action for damages may be brought, at the
option of the plaintiff, against that carrier or the contracting                    Article 52 — DeÞnition of Days
carrier, or against both together or separately. If the action is
brought against only one of those carriers, that carrier shall           The expression “days” when used in this Convention
have the right to require the other carrier to be joined in the       means calendar days, not working days.
proceedings, the procedure and effects being governed by
the law of the court seised of the case.
                                                                                              CHAPTER VII
            Article 46 — Additional Jurisdiction
                                                                                              Final Clauses
     Any action for damages contemplated in Article 45 must                                   Article 53
be brought, at the option of the plaintiff, in the territory of one          Signature, RatiÞcation and Entry into Force
of the States Parties, either before a court in which an action
may be brought against the contracting carrier, as provided           1. This Convention shall be open for signature in Montreal
in Article 33, or before the court having jurisdiction at the         on 28 May 1999 by States participating in the International
place where the actual carrier has its domicile or its principal      Conference on Air Law held at Montreal from 10 to 28 May
place of business.                                                    1999. After 28 May 1999, the Convention shall be open to all
    Article 47 — Invalidity of Contractual Provisions                 States for signature at the Headquarters of the International
                                                                      Civil Aviation Organization in Montreal until it enters into
      Any contractual provision tending to relieve the                force in accordance with paragraph 6 of this Article.
contracting carrier or the actual carrier of liability under this     2. This Convention shall similarly be open for signature
Chapter or to fix a lower limit than that which is applicable         by Regional Economic Integration Organisations. For
according to this Chapter shall be null and void, but the             the purpose of this Convention, a “Regional Economic
nullity of any such provision does not involve the nullity of the     Integration Organisation” means any organisation which
whole contract, which shall remain subject to the provisions          is constituted by sovereign States of a given region which
of this Chapter.                                                      has competence in respect of certain matters governed
                                                                      by this Convention and has been duly authorized to sign
                       Article 48                                     and to ratify, accept, approve or accede to this Convention.
  Mutual Relations of Contracting and Actual Carriers                 A reference to a “State Party” or “States Parties” in this
                                                                      Convention, otherwise than in paragraph 2 of Article 1,
    Except as provided in Article 45, nothing in this                 paragraph 1(b) of Article 3, paragraph (b) of Article 5, Articles
Chapter shall affect the rights and obligations of the carriers       23, 33, 46 and paragraph (b) of Article 57, applies equally
between themselves, including any right of recourse or                to a Regional Economic Integration Organisation. For the
indemnification.                                                      purpose of Article 24, the references to “a majority of the
                                                                      States Parties” and “one-third of the States Parties” shall not
                                                                      apply to a Regional Economic Integration Organisation.
                         CHAPTER VI
                                                                      3. This Convention shall be subject to ratiÞcation by States
                       Other Provisions                               and by Regional Economic Integration Organisations which
                                                                      have signed it.
            Article 49 — Mandatory Application
                                                                      4. Any State or Regional Economic Integration
     Any clause contained in the contract of carriage and             Organisation which does not sign this Convention may
all special agreements entered into before the damage                 accept, approve or accede to it at any time.
occurred by which the parties purport to infringe the rules           5. Instruments of ratiÞcation, acceptance, approval or
laid down by this Convention, whether by deciding the law             accession shall be deposited with the International Civil
to be applied, or by altering the rules as to jurisdiction, shall     Aviation Organization, which is hereby designated the
be null and void.                                                     Depositary.

                   Article 50 — Insurance                             6. This Convention shall enter into force on the sixtieth
                                                                      day following the date of deposit of the thirtieth instrument
     States Parties shall require their carriers     to maintain      of ratiÞcation, acceptance, approval or accession with
adequate insurance covering their liability           under this      the Depositary between the States which have deposited
Convention. A carrier may be required by the         State Party      such instrument. An instrument deposited by a Regional
into which it operates to furnish evidence that      it maintains     Economic Integration Organisation shall not be counted for
                                                                      the purpose of this paragraph.



                                                                                                                                   69
           Case 2:21-cv-11403-PDB-CI ECF No. 1, PageID.19 Filed 06/15/21 Page 19 of 21

                   Essential Documents on International Air Carrier Liability

      7. For other States and for other Regional Economic                2. within the territory of any single State Party to this
      Integration Organisations, this Convention shall take effect       Convention by virtue of that State being Party to one or more

1     sixty days following the date of deposit of the instrument of
      ratiÞcation, acceptance, approval or accession.
      8. The Depositary shall promptly notify all signatories and
                                                                         of the instruments referred to in sub-paragraphs (a) to (e)
                                                                         above.

                                                                                                Article 56
      States Parties of:
1.9                                                                              States with more than one System of Law
           a) each signature of this Convention and date thereof;
                                                                         1. If a State has two or more territorial units in which
           b) each deposit of an instrument of ratiÞcation,
                                                                         different systems of law are applicable in relation to matters
              acceptance, approval or accession and date thereof;
                                                                         dealt with in this Convention, it may at the time of signature,
           c) the date of entry into force of this Convention;           ratiÞcation, acceptance, approval or accession declare that
           d) the date of the coming into force of any revision of the   this Convention shall extend to all its territorial units or only
              limits of liability established under this Convention;     to one or more of them and may modify this declaration by
                                                                         submitting another declaration at any time.
           e) any denunciation under Article 54.
                                                                         2. Any such declaration shall be notiÞed to the Depositary
                       Article 54 — Denunciation                         and shall state expressly the territorial units to which the
                                                                         Convention applies.
      1. Any State Party may denounce this Convention by                 3. In relation to a State Party which has made such a
      written notiÞcation to the Depositary.                             declaration:
      2. Denunciation shall take effect one hundred and eighty
      days following the date on which notiÞcation is received by            a) references in Article 23 to “national currency” shall
      the Depositary.                                                           be construed as referring to the currency of the
                                                                                relevant territorial unit of that State; and
                              Article 55
                   Relationship with other Warsaw                            b) the reference in Article 28 to “national law” shall
                      Convention Instruments                                    be construed as referring to the law of the relevant
                                                                                territorial unit of that State.
          This Convention shall prevail over any rules which
      apply to international carriage by air:                                             Article 57 — Reservations
      1. between States Parties to this Convention by virtue of
                                                                              No reservation may be made to this Convention except
      those States commonly being Party to
                                                                         that a State Party may at any time declare by a notification
           a) the Convention for the UniÞcation of Certain Rules         addressed to the Depositary that this Convention shall not
              Relating to International Carriage by Air Signed at        apply to:
              Warsaw on 12 October 1929 (hereinafter called the
                                                                             a) international carriage by air performed and operated
              Warsaw Convention);
                                                                                directly by that State Party for non-commercial
           b) the Protocol to Amend the Convention for the                      purposes in respect to its functions and duties as a
              UniÞcation of Certain Rules Relating to International             sovereign State; and/or
              Carriage by Air Signed at Warsaw on 12 October
                                                                             b) the carriage of persons, cargo and baggage for its
              1929, Done at The Hague on 28 September 1955
                                                                                military authorities on aircraft registered in or leased
              (hereinafter called The Hague Protocol);
                                                                                by that State Party, the whole capacity of which has
           c) the Convention, Supplementary to the Warsaw                       been reserved by or on behalf of such authorities.
              Convention, for the UniÞcation of Certain Rules
                                                                         IN WITNESS WHEREOF the undersigned Plenipotentiaries,
              Relating to International Carriage by Air Performed
                                                                         having been duly authorized, have signed this Convention.
              by a Person Other than the Contracting Carrier,
              signed at Guadalajara on 18 September 1961                 DONE at Montreal on the 28th day of May of the year one
              (hereinafter called the Guadalajara Convention);           thousand nine hundred and ninety-nine in the English,
                                                                         Arabic, Chinese, French, Russian and Spanish languages,
           d) the Protocol to Amend the Convention for the
                                                                         all texts being equally authentic. This Convention shall
              UniÞcation of Certain Rules Relating to International
                                                                         remain deposited in the archives of the International Civil
              Carriage by Air Signed at Warsaw on 12 October
                                                                         Aviation Organization, and certiÞed copies thereof shall
              1929 as Amended by the Protocol Done at The
                                                                         be transmitted by the Depositary to all States Parties
              Hague on 28 September 1955 Signed at Guatemala
                                                                         to this Convention, as well as to all States Parties to the
              City on 8 March 1971 (hereinafter called the
                                                                         Warsaw Convention, The Hague Protocol, the Guadalajara
              Guatemala City Protocol);
                                                                         Convention, the Guatemala City Protocol, and the Montreal
           e) Additional Protocol Nos. 1 to 3 and Montreal Protocol      Protocols.
              No. 4 to amend the Warsaw Convention as amended
              by The Hague Protocol or the Warsaw Convention
              as amended by both The Hague Protocol and the
              Guatemala City Protocol Signed at Montreal on
              25 September 1975 (hereinafter called the Montreal
              Protocols); or




      70
Case 2:21-cv-11403-PDB-CI ECF No. 1, PageID.20 Filed 06/15/21 Page 20 of 21




                         EXHIBIT B
4/1/2020         Case 2:21-cv-11403-PDB-CI   ECFLimits
                                      2019 Revised No.of1, PageID.21
                                                        Liability             FiledConvention
                                                                  Under the Montreal 06/15/21       Page 21 of 21
                                                                                              of 1999
ICAO / Secretariat / Legal Affairs and External Relations Bureau / 2019 Revised Limits of Liability Under the Montreal Convention of 1999


2019 Revised Limits of Liability Under the Montreal Convention of 1999
Pursuant to the 2019 review of the limits of liability conducted by ICAO under Article 24 of the Convention for the Unification of Certain
Rules for International Carriage by Air, done at Montréal on 28 May 1999 (Doc 9740) (Montreal Convention of 1999), the revised limits of
liability established under Articles 21 and 22 of the said Convention, in Special Drawing Rights (SDRs), effective as of 28 December 2019,
are as set out in the fourth column of the following table:

        Montreal
                                    Original limit           Revised limit (SDRs) as of 30 December                        Revised limit (SDRs) as of 28 December
       Convention
                                      (SDRs)                                  2009                                                          2019
        of 1999
        Article 21                     100 000                                     113 100                                                  128 821
 Article 22, paragraph
                                        4 150                                        4 694                                                   5 346
            1
 Article 22, paragraph
                                        1 000                                        1 131                                                   1 288
            2
 Article 22, paragraph
                                          17                                           19                                                     22
            3



States Parties to the Montreal Convention of 1999 are accordingly invited to make provisions as necessary in accordance with their
domestic legal requirements to give full effect as of 28 December 2019 to the revised limits.




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